   8:02-cr-00194-LSC        Doc # 126     Filed: 07/12/05    Page 1 of 1 - Page ID # 893




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )    CASE NO. 8:02CR194
                                               )
               v.                              )
                                               )    ORDER TO STRIKE
ARTURO CARDENAS-GUTIERREZ,                     )
                                               )
                      Defendant.               )


       Upon the Plaintiff’s motion,

       IT IS ORDERED:

       1.      Plaintiff’s Motion to Strike (Filing #125) is granted; and

       2       The Clerk of the Court is directed to Strike Filing No. 124 as it was the wrong

               version of the government’s brief.

       IT IS FURTHER ORDERED that the government may file the correct version of the

brief out of time.

       DATED this 12th day of July, 2005.



                                                    s/Laurie Smith Camp
                                                    United States District Court Judge
